            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:15 CR 85-2


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                   ORDER
                                       )
KELSIE MARIE BURCH.                    )
                                       )
______________________________________ )

      THIS CAUSE came on to be heard and was heard before the undersigned

pursuant to a Motion for Bond Modification (#120) filed by Defendant’s attorney.

It appeared to the Court at the call of this matter on for hearing the Defendant was

present with her attorney and the Government was present and represented through

AUSA Tom Ascik. From the arguments of counsel for Defendant and the arguments

of the Assistant United States Attorney and the records in this cause, the Court makes

the following findings:

      Findings.    The Defendant was charged in a bill of indictment (#3) with

conspiracy to distribute methamphetamine and two counts of distribution of

methamphetamine. After an arraignment hearing was held in regard to the

Defendant, Defendant requested that the Court enter an order continuing the

detention hearing of Defendant until a later date. The Court granted such motion.

(#91) On September 30, 2015, Defendant filed her Motion for Bond Modification

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requesting a detention hearing. This matter was brought before the undersigned for

hearing on October 7, 2015 and at that time the hearing of Defendant’s request was

continued due to the fact there were charges pending against Defendant in state court

and if the undersigned released Defendant on terms and conditions of release the

United States Marshal would have to release Defendant into the custody of state

officials. The matter was then set again for hearing for October 21, 2015.

      Discussion. 18 U.S.C. § 3142(e)(3)(A) provides:

      Subject to rebuttable by the person, it shall be presumed that no
      condition or combination of conditions would reasonably assure the
      appearance of the person as required and the safety of the community,
      if the judicial officer finds there is probable cause to believe that the
      person committed an offense for which a maximum term of
      imprisonment of ten years or more as prescribed in the Controlled
      Substances Act.

      The Defendant is charged with such an offense.

      In considering whether or not the presumption of detention has been rebutted,

the undersigned has considered all the factors as set forth under 18 U.S.C. § 3142(g):

      18 U.S.C. § 3142(g) provides as follows:

      (g) Factors to be considered.--The judicial officer shall, in
      determining whether there are conditions of release that will
      reasonably assure the appearance of the person as required and the
      safety of any other person and the community, take into account the
      available information concerning--
      (1) The nature and circumstances of the offense charged, including whether
      the offense is a crime of violence, a violation of section 1591, a Federal
      crime of terrorism, or involves a minor victim or a controlled substance,
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        firearm, explosive, or destructive device;
        (2) the weight of the evidence against the person;
        (3) the history and characteristics of the person, including--
              (A) the person’s character, physical and mental condition, family ties,
              employment, financial resources, length of residence in the
              community, community ties, past conduct, history relating to drug or
              alcohol abuse, criminal history, and record concerning appearance at
              court proceedings; and
              (B) whether, at the time of the current offense or arrest, the person
              was on probation, on parole, or on other release pending trial,
              sentencing, appeal, or completion of sentence for an offense under
              Federal, State, or local law; and
              (4) the nature and seriousness of the danger to any person or the
              community that would be posed by the person’s release.

       In considering those factors, the undersigned finds that the nature and

circumstance of the offense charged do involve a controlled substance, that being

the sell and distribution of methamphetamine. The undersigned finds that the weight

of the evidence against the person is at the level of probable cause. It appears that

Defendant is in good physical condition and is in questionable mental condition.

Defendant has family ties and a long length of residence in the community. She has

not had employment since June 2009. Defendant has a history of using controlled

substances and, in fact, used cannabinoids and methamphetamine approximately

four hours before she was interviewed by the United States Probation Office.

Defendant has the following criminal history:

Date       County                Offense                                    Conviction

                                            3



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5/1/09     Jackson Simple assault                                          11/17/09
9/15/09    Jackson Misdemeanor breaking & entering, felony larceny         11/17/09
1/14/10    Macon   Allowing unlicensed minor to drive                      2/16/10
5/30/11    Macon   Misdemeanor resisting an officer                        9/22/11
5/31/12    Jackson Possession of drug paraphernalia                        9/25/12
6/18/12    Jackson Misdemeanor possession of stolen property               7/9/13
4/11/13    Haywood Larceny                                                 7/10/13
10/10/13   Jackson Felony breaking & entering, felony larceny              1/16/15

      Defendant’s record concerning appearance at court proceedings shows she

failed to appear in regard to charges of obtaining property by false pretense and

misdemeanor possession of stolen property that arose out of an incident of June 18,

2012. At the time of her arrest it appears Defendant was on other release pending

trial of charges that were made on March 20, 2015 in Jackson County, NC for felony

possession of a schedule II controlled substance and misdemeanor possession of

drug paraphernalia. The nature and seriousness of the danger to any person or the

community that would be posed by the person’s release indicate by clear and

convincing evidence that the release of Defendant would create a risk of harm or

danger to any other person or the community. Defendant has multiple felony

convictions and has pending charges for possession of a controlled substance. If the

undersigned released Defendant to attend drug treatment, Defendant would have to

be taken into custody by state officials and Defendant would not receive the

treatment. The trial in this matter is scheduled for the January 4, 2016 term of the

District Court. There is not sufficient time for Defendant to resolve her state matters

and to attend an inpatient drug treatment program prior to January 4, 2016.
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      As a result of the foregoing, the undersigned finds that the presumption of

detention has not been rebutted and the undersigned will enter an order detaining

Defendant.

                                    ORDER

      IT IS, THEREFORE, ORDERED, that Motion for Bond Modification

(#120) is DENIED and Defendant be detained pending further proceedings in this

matter.


                                     Signed: October 27, 2015




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